AO 247 (Rev. 03/19) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2) Page 1 of 2 (Page 2 Not for Public Disclosure)

UNITED STATES DISTRICT COURT

for the

Northern District of Georgia

United States of America

)
V.
Peter Tarantino Case No:  1:19-CR-297-ELR-JSA-3
) USMNo: 72608-019
Date of Original Judgment: 11/22/2022 ) |
Date of Previous Amended Judgment: 11/28/2022 ) _Donald Franklin Samuel
(Use Date of Last Amended Judgment if Any) Defendant’s Attorney

ORDER REGARDING MOTION FOR SENTENCE REDUCTION
PURSUANT TO 18 U.S.C. § 3582(c)(2)

Upon motion of VI the defendant CJ the Director of the Bureau of Prisons C] the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,

IT IS ORDERED that iy motion is:

L_IDENIED. [VI]GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
the last judgment issued) Of 36 months is reduced to 33 months
(See Page 2 for additional parts. Complete Parts I and II of Page 2 when motion is granted)

This sentence reduction is granted pursuant to 18 U.S.C. § 3582(c)(2) based upon the retroactive application of
Amendment 821 to the United States Sentencing Guidelines.

Except as otherwise provided, all provisions of the judgment dated 11/28/2022 shall remain in effect.
IT IS SO ORDERED.
Order Date: 07/24/2024 ean K etd
Judge’s signature
Effective Date: Eleanor L. Ross

(if different from order date) Printed name and title
